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 8                               UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN FRANCISCO DIVISION
11

12   UNITED STATES OF AMERICA,                            Case No.    18-CR-465 MMC

13                         Plaintiff,                     MOTION FOR BILL OF
                                                          PARTICULARS
14           v.
                                                          Date: February 6, 2019
15   FUJIAN JINHUA INTEGRATED CIRCUIT                     Time: 2:15 p.m.
     CO., LTD., et al.,
16
                           Defendant.
17

18

19   TO THE COURT AND ATTORNEYS OF RECORD: PLEASE TAKE NOTICE THAT on

20   Wednesday, February 6, 2019, at 2:15 p.m. or as soon thereafter as the matter may be heard at a

21   time set by The Honorable Maxine M. Chesney in Courtroom 7 of the United States District

22   Court for the Northern District of California, located at 450 Golden Gate Avenue, San Francisco,

23   California, defendant Fujian Jinhua Integrated Circuit Co., Ltd. (“Jinhua”), will move this Court

24   for an Order requiring the government to provide a bill of particulars under Federal Rule of

25   Criminal Procedure 7(f) identifying Jinhua’s role in the alleged charges, including whether and

26   how Jinhua intended its agreement with United Microelectronics Corporation (“UMC”) to have

27   the purpose of misappropriating information regarding dynamic random-access memory (DRAM)

28   technology, specifics regarding Jinhua’s alleged conduct, specifics regarding alleged trade

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 1   secrets, and whether and how Jinhua carried out any conduct in the United States in furtherance

 2   of the alleged conspiracies.

 3            This motion is based on this Notice of Motion and Motion, the accompanying

 4   Memorandum of Points and Authorities, the attached Declaration of Christine Y. Wong (“Wong

 5   Decl.”), the pleadings and papers filed in this matter, and on other such arguments or evidence as

 6   the Court shall deem proper.

 7                       MEMORANDUM OF POINTS AND AUTHORITIES

 8   I.       Introduction

 9            Defendant Jinhua seeks a bill of particulars pursuant to Federal Rule of Criminal

10   Procedure 7(f) so that it can understand the charges against it, avoid surprise at trial, and

11   adequately prepare and present its defense. The government alleges a broad and conclusory

12   scheme to commit economic espionage and theft of trade secrets by five co-defendants. The

13   Indictment, however, fails to provide any information about: (a) how Jinhua intended its

14   agreement with UMC (or anyone else) to have the purpose of misappropriating trade secrets from

15   Micron, (b) how Jinhua knew that trade secrets had been misappropriated, (c) how Jinhua’s

16   alleged actions in the United States were in furtherance of the alleged crimes, or (d) specific

17   information about the alleged “Trade Secrets.” Absent such basic information, Jinhua cannot

18   effectively prepare its defense and will be vulnerable to surprise at trial. The vague allegations

19   will allow the government to shift its theory of the case up to and including trial. See United

20   States v. Ryland, 806 F.2d 941, 942 (9th Cir.1986) (“A defendant is … entitled to … the theory of

21   the government’s case.”). Thus, a bill of particulars is needed.

22   II.      The Indictment

23            A.    The Indictment alleges no specific acts of wrongdoing committed by Jinhua

24            Jinhua has been charged in Count One of the Indictment with conspiracy to commit

25   economic espionage, in violation of 18 U.S.C. Section 1831(a)(5), in Count Two with conspiracy

26   to commit theft of trade secrets, in violation of 18 U.S.C. Section 1832(a)(5), and in Count Seven

27   with economic espionage (receiving and possessing stolen trade secrets), in violation of 18 U.S.C.

28   Sections 1831(a)(3) and (2).       (Indictment, ECF No. 1).        Excluding general background
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 1   information about Jinhua as company, in all the 18 pages of the Indictment, the allegations

 2   specific to Jinhua can be counted on almost one hand.

 3          Specifically, the Indictment alleges that:

 4             Wang and Ho stole information “from Micron and provided it to UMC and Jinhua

 5              under the direction of Chen and others.” (Indictment ¶ 12(a));

 6             In or around January 2016, Jinhua and its co-defendant UMC “negotiated and later

 7              entered into a technology cooperation agreement whereby, with funding from Jinhua,

 8              UMC would develop DRAM technology, transfer the technology to Jinhua, and Jinhua

 9              would mass produce DRAM.” (Id. ¶ 20);

10             On or about October 23, 2016, Jinhua and co-defendants Stephen Chen and UMC,

11              “after having obtained Micron trade secrets and being in continuous control over

12              them,” attended a recruiting event in the Northern District of California (Id. ¶¶ 31, 46);

13             On or about October 24, 2016, Jinhua and co-defendants Chen and UMC visited

14              equipment-manufacturing companies in the Northern District of California (Id. ¶ 47);

15             From in or around September 2016 through March 2017, Jinhua and UMC filed five

16              patents and a patent application allegedly containing “information that was the same

17              or very similar to technology described in Micron’s Trade Secrets 2 and 6” (Id. ¶ 32);

18              and

19             In or around February 2017, co-defendant Chen, in addition to his position at UMC,

20              assumed the position of president of Jinhua (Id. ¶ 34).

21          The Indictment describes a number of specific acts of wrongdoing allegedly committed by

22   the individual defendants who were employed by UMC.               (See, e.g., id. ¶¶ 23-30.)     The

23   Indictment, however, alleges no specific acts of wrongdoing committed by Jinhua, much less any

24   in the United States.    Instead, the Government relies solely on conclusory statements of

25   wrongdoing and recitations of statutory elements.

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 1          B.      The Indictment is insufficient as to the alleged Trade Secrets

 2          The eight alleged Trade Secrets identified in the Indictment are described in

 3   extraordinarily broad language. For example, “Trade Secret 1” is described as “[t]he Micron

 4   process to manufacture and produce DRAM contained in the totality of information stolen by

 5   Wang and Ho from Micron and provided to UMC and Jinhua[.]” (Indictment ¶ 12(a)). By the

 6   government’s own description, Trade Secret 1 includes “proprietary and non-proprietary

 7   components,” without specifying what falls into which category. (Id.).

 8          Each of the remaining seven alleged trade secrets is associated with a specific document,

 9   but these documents are voluminous and may contain broad swaths of generic information. For

10   example, alleged Trade Secret 2 is a “233-page PDF document … contain[ing] comprehensive

11   and very detailed information.” (Id. ¶ 12(b)). Similarly, alleged Trade Secret 6 is a “302-page

12   PDF document … contain[ing] trade secret information”; alleged Trade Secret 7 is a “360-page

13   PDF … contain[ing] trade secret information”; and alleged Trade Secret 8 is a “260 page PDF[.]”

14   (Id. ¶¶ 12(f), (g), (h)). Each of the alleged Trade Secrets 3, 4, and 5 is an “Excel Spreadsheet with

15   multiple tabs” with no indication as to where the “specific details,” “critical details,” or “precise

16   information” are located. (Id. ¶¶ 12(c), (d), (e)).

17   III.   A Bill of Particulars Is Necessary in This Case

18          An indictment “must be a plain, concise, and definite written statement of the essential

19   facts constituting the offense charged[.]” Fed. R. Crim. P. 7(c)(1). An indictment is only

20   sufficient “if it … contains the elements of the offense charged and fairly informs a defendant of

21   the charge against which he must defend[.]” Hamling v. United States, 418 U.S. 87, 117 (1974).

22          Federal Rule of Criminal Procedure 7(f) authorizes the Court to order a bill of particulars

23   in order to “apprise the defendant of the specific charges being presented to minimize danger of

24   surprise at trial, to aid in preparation and to protect against double jeopardy.” United States v.

25   Long, 706 F.2d 1044, 1054 (9th Cir. 1983); see also Cook v. United States, 354 F.2d 529, 531

26   (9th Cir. 1965), United States v. Giese, 597 F.2d 1170, 1180 (9th Cir. 1979) cert. denied sub

27   nom., Giese v. United States, 444 U.S. 979 (1979). A bill of particulars is necessary where an

28   indictment is ambiguous such that a defendant needs clarification in order to prepare for a
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 1   defense.1    Id.   The Indictment here is insufficient, containing only broad and conclusory

 2   allegations about Jinhua, none of which can apprise Jinhua of the specific wrongdoing it is

 3   alleged to have committed or the specific charges against it.

 4           At the heart of the government’s allegations against Jinhua is the technology cooperation

 5   agreement between Jinhua and UMC. (Indictment ¶ 20.) But the government fails to state how

 6   Jinhua, by entering into an agreement pursuant to which UMC was the party responsible for

 7   developing DRAM technology, (Id.,) knew or should have known that UMC would be involved

 8   in the alleged theft of trade secrets, much less whether Jinhua agreed to the theft of trade secrets

 9   in the first place. Neither does the indictment state what specific misappropriated information

10   Jinhua knowingly received and possessed. Moreover, there is no specific information about how

11   any alleged conduct by Jinhua in the United States was in furtherance of the alleged wrongdoing,

12   aside from the conclusory assertion that Jinhua “ha[d] obtained Micron trade secrets and [was] in

13   continuous control over them” during a trip to the United States in October 2016. (Id. ¶ 46.)

14   Without such critical facts being identified, Jinhua is forced to speculate as to its role in the

15   alleged crimes, its alleged wrongful acts, and even the date on which the government believes

16   Jinhua joined the alleged conspiracies. See, e.g., Russell v. United States, 369 U.S. 749, 764

17   (1962) (“guilt depends so crucially upon … specific identification of fact, our cases have

18   uniformly held that an indictment must do more than simply repeat the language of the criminal

19   statute”).

20           The broadly-defined trade secrets also make the defendant’s task of adequately preparing

21   for trial impossible. “[A] prosecution under [the EEA] must establish a particular piece of

22   information that a person has stolen or misappropriated.” 142 Cong. Rec. S12201-03, 1996 WL

23   559474, at *S12213 (daily ed. Oct. 2, 1996) The prosecution in the present case failed to do so,

24   and we ask the Court to exercise its discretion to require the government to adequately define

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              In deciding whether a bill of particulars is necessary, courts consider not only the
26   charges in the indictment but also “all other disclosures made by the government.” Long, 706
     F.2d at 1054. The government has produced an initial set of discovery materials. See Wong
27   Decl., ¶ 3. Nonetheless, no amount of discovery can cure the fundamental ambiguities in the
     indictment described herein.
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 1   each alleged Trade Secret. See United States v. Liew, No. CR 11-00573-1 JSW, 2013 WL

 2   2605126, at *8 (N.D. Cal. June 11, 2013) (directing the prosecution to “provide a bill of

 3   particulars that sets forth its theory of what Defendants’ [sic] reasonably believed the trade secret

 4   to be, e.g., whether the United States will argue that Defendants reasonably believed the entire …

 5   process … was a trade secret or whether it will argue the Defendants reasonably believed a subset

 6   of the process was a trade secret.).

 7          Specifically, Jinhua requests that the Court order the government to provide the following

 8   information:

 9              1. The date(s) on which Jinhua joined the alleged conspiracy to commit economic

10                  espionage and the alleged conspiracy to commit theft of trade secrets;

11              2. The precise words or conduct by which Jinhua agreed to join the alleged

12                  conspiracies;

13              3. Specific information, including the nature, date, time, and place of any overt act,

14                  demonstrating that Jinhua intended its agreement with UMC or anyone else to

15                  have the purpose of misappropriating information regarding DRAM technology

16                  from Micron or anyone else;

17              4. Specific information, including the nature, date, time, and place of any overt act,

18                  demonstrating Jinhua’s implementation of the alleged criminal agreement;

19              5. Specific information, including the nature, date, time and place of any overt act,

20                  demonstrating that Jinhua knew or should have known that UMC had used

21                  information misappropriated from Micron to develop the DRAM technology;

22              6. The alleged misappropriated information that was received or possessed by Jinhua;

23              7. Specific information about how any conduct by Jinhua in the United States was in

24                  furtherance of the alleged conspiracies;

25              8. The specifications, process parameters, and portions of the documents referred in

26                  Indictment paragraph 12(b)-(h) that are alleged Trade Secrets;

27              9. Specific physical, electronic, legal, and policy measures that Micron took to keep

28                  alleged Trade Secrets secret;
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 1              10. The government’s theory of what Jinhua knew or should have known were trade

 2                 secret(s), and whether Jinhua knew or should have known the entire DRAM design

 3                 and manufacturing process, including all alleged Trade Secrets 1 through 8, were

 4                 trade secrets or whether Jinhua only knew or should have known a subset of the

 5                 process was a trade secret; and

 6              11. Specific identification of: (1) the “ways and means”; 2) “proprietary and non-

 7                 proprietary components”; and (3) the “compil[ation] and combin[ation] by Micron

 8                 [that] form substantial portions of the DRAM design and manufacturing process”

 9                 as described in Indictment paragraph 12(a).

10

11   IV.    Conclusion

12          For the foregoing reasons, the Court should enter an Order pursuant to Federal Rule of

13   Criminal Procedure 7(f) requiring the government to provide sufficient information about specific

14   conduct by Jinhua in furtherance of the alleged conspiracies and the substantive charge of

15   economic espionage.

16
     Dated: January 23, 2019                     CHRISTINE Y. WONG
17                                               TIMOTHY W. BLAKELY
                                                 MORRISON & FOERSTER LLP
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19
                                                 By:     /s/ Christine Y. Wong
20                                                       CHRISTINE Y. WONG
21                                                       Attorneys for Defendant
                                                         FUJIAN JINHUA INTEGRATED
22                                                       CIRCUIT CO., LTD.
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